                                                                                    DISTRICT OF OREGON
                                                                                         FILED
                                                                                      September 09, 2020
                                                                                 Clerk, U.S. Bankruptcy Court



       Below is an order of the court.

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 5                                                                _______________________________________
                                                                             DAVID W. HERCHER
                                                                            U.S. Bankruptcy Judge
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10
                                UNITED STATES BANKRUPTCY COURT
11
                                         DISTRICT OF OREGON
12

13   In Re:                                          )
                                                     )     Case No. 20-31020-dwh7
14   MARK F. HAUETER                                 )
                                                     )     Chapter 7
15                                                   )
                                                     )     ORDER EXTENDING DEADLINE TO
16                   Debtor.                         )     OBJECT TO DISCHARGEABILITY
                                                     )
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19            ORDER EXTENDING DEADLINE TO OBJECT TO DISCHARGEABILITY
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              Upon consideration of the record before the Court and the Second Stipulation to Extend
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     Deadline to Object to Dischargeability filed by Producers Livestock Marketing Association and
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     Mark F. Haueter, the Debtor herein, wherein the parties stipulated and agreed to extend the
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     deadline for filing a complaint under 11 U.S.C. § 523 as it relates to Producers Livestock
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27   ORDER EXTENDING DEADLINE TO OBJECT TO DISCHARGEABILITY -1
                                                                                           49310.0005.13139181.1
28                         Case 20-31020-dwh7        Doc 113     Filed 09/09/20
     Marketing Association (“Stipulation”), the Court finds good cause that the Stipulation should be
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 2   approved.

 3          IT IS HEREBY ORDERED:

 4          The Court approves the Stipulation and the date for objecting to dischargeability of debt
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     pursuant to 11 U.S.C. § 523, as it relates to Producers Livestock Marketing Association, is
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     extended up to and including October 7, 2020.
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                                                     ###
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                    CERTIFICATION OF COMPLIANCE WITH LBR 9021-1(A)(2)(A)
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                 I certify that I have complied with the requirements of LBR 9021-1(a)(2)(A).
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13   SUBMITTED BY:
     Sheila R. Schwager, OSB No. 176114
14   HAWLEY TROXELL ENNIS & HAWLEY LLP
     P.O. Box 1617
15   Boise, ID 83701-1617
     Telephone: 208.344.6000
16
     Facsimile: 208.954.5260
17   Email: sschwager@hawleytroxell.com

18   Attorneys for Plaintiff Producers Livestock Marketing Association

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27   ORDER EXTENDING DEADLINE TO OBJECT TO DISCHARGEABILITY -2
                                                                                           49310.0005.13139181.1
28                          Case 20-31020-dwh7        Doc 113     Filed 09/09/20
